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AO 240 (Rev. 07/ 10) Application to Proceed in District Court Without Prepayi ng Fees or Costs (Short Form)


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                     Northern District of California
                                                                                                                               ..
                           David Stebbins                                       )
                          Plaintiff/Petitioner
                                    v.
                                                                                )
                                                                                )      Civil Actio
                                                                                                                       Ac;r
                               John Doe
                        Defendant/Respondent
                                                                                )
                                                                                )
                                                                                                                        82
        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        {Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that I am entitled to the rnlief requested.

           In support of this application, I answer the following questions under penalty of perjury:

        I . If incarcerated. I am being held at:
                                                 - - - - - - - - - - ~ - - - - - - - -- - - - - -
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

           2. If not incarcerated. lfl am employed, my employer's name and address are:
   I am self-employed . I am seeking (but have not yet found) outside-the-house employment.




My gross pay or wages are: $ - - - - - - - , and my take-home pay or wages are: $ _ _ _ _ _ _ _ per
 (specify pay period)
                         ----------
           3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

        (a) Business, profession, or other self-employment                             ~ Yes                  0 No
        (b) Rent payments, interest, or dividends                                      0 Yes                  lif No
        (c) Pension, armuity, or life insurance payments                                   Yes                ~No
        (d) Disability, or worker's compensation payments                              0 Yes                  lif No
        (e) Gifts, or inheritances                                                     O Yes                  ~No
        (f) Any other sources                                                          ~ Yes                  0 No

         Ifyou answered "Yes" to any question above, describe below or on separate pages each source of money and
state the amount that you received and what you expect to receive in the future .
  Self-employment on Youtube. For the past 12 months, I have averaged' payments of $43.46 per month .

  I also receive SSI payments of $841 per month .
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          4. Amount of money that I have in cash or in a checking or savings account: $ _ __ __ _ _3_94_ ._0_4_ .

        5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else's name (describe the property and its approximate
v~ge~:oteworthy assets




           6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount of the monthly expense) :
 $400/mo rent
 $95/mo utilities




        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each o.erson, and how much I contribute to their support:
No depen'dents




       8. Any debts or financial obligations {describe the amounts owed and to whom they are payable):
 ~$40,000 in old student loan debts




       Declaration: I declare under penalty of perjury that the above information is true and understand that a false
statement may result in a dismissal of my claims.


Date:              07/06/2022
                                                                                                             Applicant 's signature


                                                                                                              David Stebbins
                                                                                                                 Printed name
